Case 04-31593-hdh11 Doci1 Filed 02/05/04 Entered 02/05/04 01:09:03 Desc Main

Document

Page 1 of 7
VOLUNTARY PETITION

United States Bankruptcy Court
Northern District of Texas
Dallas Division

_ VOLUNTARY PETITION

Name of Debtor (if individual, enter Last, First, Middle):
HOPS OF RHODE ISLAND, LLC

Name of Joint Debtor (Spouse) (Last, First, Middle):

All Other Names used by Debtor in the last 6 years
(include married, maiden, and trade names):
Hops Restaurant Bar & Brewery

All Other Names used by Joint Debtor in the last 6 years
(include married, maiden, and trade names):

Soc. Sec./Tax I.D. No. (if more than one, state all):
XX-XXXXXXX

Soc. Sec./Tax ID. No. (if more than one, state all):

Street Address of Debtor (No. & Street, City, State & Zip Code):
Hancock at Washington
Madison, Georgia 30650

Street Address of Debtor (No. & Street, City, State & Zip Code):

County of Residence or of the
Principal Place of Business:
Morgan County

County of Residence or of the
Principal Place of Business:

Mailing Address of Debtor (if different from street address):

Mailing Address of Joint Debtor (if different from street address):

Location of Principal Assets of Business Debtor
(if different from addresses listed above):

INFORMATION REGARDING DEBTOR (Check the Applicable Boxes)

‘Venue (Check any applicable box)

or for a longer part of such 180 days than in any other District.

O Debtor has been domiciled or has had a residence, principal place of business or principal assets in this District for 180 days immediately preceding the date of this petition

& There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

Type of Debtor (Check all boxes that apply)
O Railroad
D Stockbroker
0 Commodity Broker

Limited Liability Company

O Individual

D Corporation
O Partnership
® Other

Nature of Debts (Check one box)
O Consumer/Non-Business & Business

Chapter or Section of Bankruptcy Code Under Which
the Petition Is Filed (Check one box)
0 Chapter 7 & Chapter 11 O Chapter 13
O Chapter 9 O Chapter 12
O Sec. 304-Case ancillary to foreign proceeding

Chapter 11 Small Business (Check all boxes that apply)
© Debtor is a small business as defined in 11 U.S.C. § 101.
O Debtor is and elects to be considered a small business under
11 ULS.C. § 1121 (e). (optional)

Filing Fee (Check one box)
& Full Filing Fee attached.
O Filing Fee to be paid in installments (Applicable to individuals only)
Must attach signed application for the court's consideration certifying that the

debtor is unable to pay fee except in installments. Rule 1006(b). See Official
Form No. 3.

Statistical/Administrative Information(Estimates only) ou IS FOR COURT USE
® Debtor estimates that funds will be available for distribution to unsecured creditors.
1 Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
be no funds available for distribution to unsecured creditors
Estimated Number of Creditors 1-15 16-49 50-99 100-199 200-999 1,000-over*
Oo oO 0 Oo o w

Estimated Assets
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

O oO Oo Oo O oO Oo ql
Estimated Debts
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million*

Oo oO QO Oo O oO oO Q

* The estimates reflect consolidated information from Avado Brands, Inc. and its affiliates (collectively, the "Avado Entities", listed on the
attached AnnexfA) filing voluntary petitions with the United States Bankruptcy Court for the Northern District of Texas - Dallas Division
on February , 2004.

Case 04-31593-hdh11 Doci1 Filed

2/05/04 Entered 02/05/04 01:09:03 Desc Main

Dann 2 of 7

VOLUNTARY PETITION
(This page must be completed and filed in every case)

Name of Debtor(s): .
HOPS OF RHODE ISLAND, LLC

Form B1, Page 2

Prior Bankruptcy Case Filed Within Last 6 Years (if more than one, attach additional sheet)

Date Filed:

Location Case Number:
Where Filed: None
Pending Bankruptcy Case Filed by Any Spouse, Partner, or Affiliate of this Debtor (if more than one, attach additional sheet.)
Name of Debtor: See Annex A Case Number: Date Filed:
District: Relationship: Judge:
SIGNATURES

Signature(s) of Debtor(s) (Individual/Joint)
I declare under penalty of perjury that the information provided in this petition is
true and correct.
[If petitioner is an individual whose debts are primarily consumer debts and has
chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
lor 13 of title 11, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7.
T request relief in accordance with the chapter of title 11, United States Code, speci-
fied in this petition.

x
Signature of Debtor

x
Signature of Joint Debtor

Signature of Debtor (Corporation/Partnership)

I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of the
debtor.

Signature of Authorizedindividual *

J

Kevin J, Leary
Name of Authorized Individual

Authorized Signatory for Hops of Rhode Island, LLC
Title of Authorized Individual

George N. Panagakis
Printed Name of Attorney for Debtor(s)

Skadden, Arps, Slate, Meagher & Flom LLP
Firm Name

333 W. Wacker Drive, Chicago, IL 60606-1285
[Address

(312) 407-0700
Telephone Number

February 2004

Date

Telephone Number (If not represented by attorney) February UW 2004
Date
Date
Signature of Attorney Signature of Non-Attorney Petition Preparer
I certify that Iam a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I
Signature of Attérney for btor(s) ————__———___ prepared this document for compensation, and that I have provided the debtor with a

copy of this document.

Printed Name of Bankruptcy Petition Preparer

Social Security Number

Address

Names and Social Security numbers of all other individuals who prepared or
assisted in preparing this document:

EXHIBIT A
(To be completed if debtor is required to file periodic reports (e.g., forms 10K and
10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)
lof the Securities Exchange Act of 1934 and is requesting relief under chapter 11)
O Exhibit A is attached and made a part of this petition.

If more than one person prepared this document, attach additional sheets conforming
to the appropriate official form for each person.

x \
Signature of Bankruptcy Petition Preparer

EXHIBIT B
(To be completed if debtor is an individual whose debts are primarily consumer debts)
I, the attomey for the petitioner named in the foregoing petition, declare that I have
informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of
title 11, United States Code, and have explained the relief available under each such
chapter.

xX
Signature of Attorney for Debtor(s)

Date

Date

A bankruptcy petition preparer's failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or imprison-
ment or both 11 U.S.C. § 110; 18 U.S.C.§ 156.

Case 04-31593-hdh11 Doci1 Filed 02/05/04 Entered 02/05/04 01:09:03 Desc Main
Document Page 3of 7

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

Chapter 11
HOPS OF RHODE ISLAND, LLC,

Case No. 04- ( )
Debtor.

CONSOLIDATED LIST OF CREDITORS HOLDING 50 LARGEST
UNSECURED CLAIMS

A list of the creditors holding the 50 largest unsecured claims against
Hops of Rhode Island, LLC, and certain of its subsidiaries and affiliates, (collec-
tively, the "Avado Entities") was included with the petition of Don Pablo's of
Texas, LP. The list has been prepared on a consolidated basis, based upon the
books and records of the Avado Entities, all of which have contemporaneously
commenced chapter 11 cases in this Court. The information presented in the list
shall not constitute an admission by, nor is it binding on, the Avado Entities.'

The list is prepared in accordance with Fed. R. Bankr. P. 1007(d) for
filing in this chapter 11 case. The list does not include (1) persons who come
within the definition of "insider" set forth in 11 U.S.C. § 101 or (2) secured
creditors unless the value of the collateral is such that the unsecured deficiency
places the creditor among the holders of the 50 largest unsecured claims.’

The Avado Entities may file the schedules of assets and liabilities (the “Schedules”) in accordance with 11 U.S.C. § 521 and
Fed. R. Bankr. P. 1007. The information contained in the Schedules may differ from the information set forth below.

The Avado Entities have not yet identified all of the 50 largest unsecured claims, if any, that are contingent, unliquidated,
disputed and/or subject to setoff. The Avado Entities reserve the right to identify any of the 50 largest unsecured claims in
their Schedules as contingent, unliquidated, disputed and/or subject to setoff, as appropriate.

3
Case 04-31593-hdh11 Doci1 Filed 02/05/04 Entered 02/05/04 01:09:03 Desc Main
Document Page 4of/7

RESOLUTIONS OF HOPS OF RHODE ISLAND, LLC

The undersigned, being all of the Class A Members of Hops of
Rhode Island, LLC, a Rhode Island limited liability company (the “Company’”), by
written consent in lieu of a special meeting, dated February ‘(_, 2004, have duly
adopted the following resolutions, and such resolutions have not been amended or
rescinded and are now in full force and effect:

RESOLVED, that in the judgment of the Company it is
desirable and in the best interests of the Company, its creditors,
its members and other interested parties, that a petition be filed
by the Company in the United States Bankruptcy Court for the
Northern District of Texas - Dallas Division (the "Bankruptcy
Court") seeking relief under the provisions of chapter 11 of title
11 of the United States Code (the "Bankruptcy Code"), in which
the authority to operate as a debtor-in-possession will be sought,

and the filing of such petition is authorized hereby; and it is
further

RESOLVED, that each of Kevin J. Leary, Michael A.
Feder, Louis J. Profumo and Edward M. Burr be appointed as
an authorized signatory (each, an "Authorized Signatory") and a
Vice President and Assistant Secretary in connection with the
chapter 11 case authorized herein; and it is further

RESOLVED, that each Authorized Signatory and each
officer of the Company, together with any other person or
persons hereafter designated, or any one of such persons (each,
individually, an "Authorized Officer," and, individually and
collectively, the "Authorized Officers") be, and each of them
hereby is, authorized, empowered and directed, on behalf of the
Company, to execute and verify a petition in the name of the
Company under chapter 11 of the Bankruptcy Code and to cause
the same to be filed in the Bankruptcy Court in such form and at
such time as the Authorized Officer executing said petition on
behalf of the Company shall determine; and it is further
Case 04-31593-hdh11 Doci1 Filed 02/05/04 Entered 02/05/04 01:09:03 Desc Main
Document Page 5of/7

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company, to execute and/or
file, or cause to be executed and/or filed (or to direct others to
do so on their behalf as provided herein) all necessary docu-
ments including, but not limited to, all petitions, affidavits,
schedules, motions, lists, applications, pleadings and other
papers, and in that connection to employ and retain all assis-
tance by legal counsel, accountants or other professionals and to
take any and all other action, that they or any of them deem
necessary, proper or desirable in connection with the chapter 11
case contemplated hereby, with a view to the successful prose-
cution of such case; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Company, to take or cause to be taken, from
time to time, any and all such further action and to execute and
deliver, or cause to be executed and delivered all such further
agreements, documents, certificates and undertakings including,
but not limited to, amendments to the documents contemplated
hereby following the effectiveness thereof, and to incur all such
fees and expenses as in their judgment shall be necessary, ap-
propriate or advisable, to effectuate the purpose and intent of the
foregoing resolutions; and it is further

RESOLVED, that the Company as debtor and debtor-in-
possession under chapter 11 of the Bankruptcy Code be, and it
hereby is, authorized to enter into a debtor-in-possession financ-
ing facility, and in connection therewith, to grant any guaran-
tees, pledges, mortgages, and other security instruments contain-
ing such provisions, terms, conditions, covenants, warranties
and representations as may be deemed necessary or appropriate
by any Authorized Officer to obtain such debtor-in-possession
financing for the Company or its subsidiaries and affiliates; and
it is further
Case 04-31593-hdh11 Doci1 Filed 02/05/04 Entered 02/05/04 01:09:03 Desc Main
Document Page 6of 7

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered to execute, de-
liver, and perform for and on behalf of the Company, as debtor
and debtor-in-possession, any documents, agreements, guaran-
ties, instruments, financing statements, undertakings and certifi-
cates necessary or appropriate to facilitate the transactions
contemplated by the foregoing resolution including, without
limitation, any credit agreement, promissory note, letter of
credit application, or other document evidencing the obligations
of the Company under the debtor-in-possession financing, and
any modifications or supplements thereto, all such materials to
be in the form approved by such Authorized Officers, the execu-
tion and delivery thereof to be conclusive evidence of such
approval; and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized and empowered for and in the
name and on behalf of the Company to amend, supplement or
otherwise modify from time to time the terms of any documents,
certificates, instruments, agreements or other writings referred
to in the foregoing resolutions; and it is further

RESOLVED, that the law firm of Skadden, Arps, Slate,
Meagher & Flom LLP, 333 West Wacker Drive, Chicago,
Illinois 60606-1285, and its affiliated law practice entities be,
and hereby are, employed under a general retainer as attorneys
for the Company in the chapter 11 case; and it is further

RESOLVED, that the Authorized Officers be, and each
of them hereby is, authorized and empowered, in the name and
on behalf of the Company, to retain such other professionals as
they deem appropriate during the course of the chapter 11 case;
and it is further

RESOLVED that the Authorized Officers be, and each
of them hereby is, authorized, in the name and on behalf of the
Company, to take or cause to be taken any and all such further
action and to execute and deliver or cause to be executed or
delivered all such further agreements, documents, certificates
and undertakings, and to incur all such fees and expenses as in
Case 04-31593-hdh11 Doci1 Filed 02/05/04 Entered 02/05/04 01:09:03 Desc Main
Document Page 7 of 7

their judgment shall be necessary, appropriate or advisable to
effectuate the purpose and intent of any and all of the foregoing
resolutions; and it is further

RESOLVED, that all acts lawfully done or actions
lawfully taken by any Authorized Officer to seek relief on
behalf of the Company under chapter 11 of the Bankruptcy
Code, or in connection with the chapter 11 case, or any matter
related thereto, including in connection with the debtor-in-
possession financing, be, and they hereby are, adopted, ratified,
confirmed and approved in all respects as the acts and deeds of
the Company; and it is further

RESOLVED, that this consent may be signed in any
number of counterparts, each of which, taken together, shall
constitute one and the same consent and that, once signed by a
majority of the Management Committee, this consent shall be
filed with the records of the Company.

IN WITNESS WHEREOPF, the undersigned has duly executed this
Written Consent on this YY day of February, 2004.

Hops of we
By: Lex

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